Dear Secretary Carnahan:
This opinion letter responds to your request dated October 2, 2009, for our review under § 116.334, RSMo, of a proposed summary statement prepared for the petition (version 3) submitted by Dr. Marsha Taylor regarding a proposed constitutional amendment to Article I, Section 36 of the Missouri Constitution. The proposed summary statement is as follows:
  Shall the Missouri Constitution be amended to prohibit state regulated health carriers from offering health insurance, benefit, or service plans after November 2, 2010, that:
    • impose monetary advantages or penalties under a plan including different co-payments or reimbursements in order to influence a beneficiary's choice of provider;
    • impose different co-payments, fees, or conditions on beneficiaries enrolled in the same benefit plan category, class, or co-payment level; or
    • limit a health care provider's opportunity to participate and provide services according to the terms and conditions of an offered health benefit plan? *Page 2 
Pursuant to § 116.334, RSMo, we approve the legal content and form of the proposed statement. Because our review of the statement is mandated by statute, no action that we take with respect to such review should be construed as an endorsement of the petition, nor as the expression of any view regarding the objectives of its proponents.
                                                       Very truly yours,
                                     _________________________ CHRIS KOSTER Attorney General *Page 1 